                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 UNITED STATES OF AMERICA,                               )
                                                         )
                 Plaintiff,                              )
                                                         )
 v.                                                      )       No. 10-00244-01-CR-W-DW
                                                         )
 EDWARD BAGLEY, SR.,                                     )
                                                         )
                 Defendants.                             )
                                                 ORDER

        Pending before the Court is Magistrate Judge Larsen’s Report and Recommendation. See

Doc. 256. The Government filed a response to the Report and Recommendation. See Doc. 278.

After reviewing the record, the Court ADOPTS Magistrate Judge Larsen’s Report and

Recommendation (Doc. 256). Consequently, it is hereby

        ORDERED that within thirty (30) days from the date of this Order, the Government’s

counsel shall marshal the information in the Dietz Report in a detailed written form so that the Court

and the remaining Defendants for trial know: (1) the issue to which each opinion is addressed; (2)

the doctor’s specific opinion to be given at trial; (3) the doctor’s specific credentials qualifying him

to render such an opinion; (4) the admissible facts upon which the doctor’s opinion is based; (5) if

any of the underlying facts for the doctor’s opinion are inadmissible, how they are the type

reasonably relied upon by experts in the field; (6) how the doctor’s proposed opinion will assist the

jury in resolving the issue in dispute; and (7) any cautionary or limiting instructions that the

Government suggests that the Court give to deal with potentially prejudicial testimony. Although

Dr. Dietz’s input may be required, the Court expects counsel for the Government, and not Dr.Dietz,

to complete this written report; it is further

        ORDERED that within twenty (20) days after the Government files its written report in the

approved form, the Government and the remaining Defendants for trial shall file any motions in




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limine or supplementary materials dealing with the admissibility of Dr. Dietz’s testimony as set forth

in the new format; it is further

         ORDERED that any response to a motion in limine or supplementary materials shall be filed

within fourteen (14) days after the motion in limine or supplementary materials are filed; it is further

         ORDERED that the Court will take under advisement the Defendant’s request for funding

for a psychiatrist to review Dr. Dietz’s report. Once the Court issues rulings on the admissibility of

the evidence the Government intends to offer through Dr. Dietz, it will be in a position to determine

whether approval for Defendant’s requested funding should be sought from the Court of Appeals;

it is further

         ORDERED that although the trial date has been continued following the issuance of the

Report and Recommendation, any requested extension of the foregoing deadlines will not be granted

absent a showing of extraordinary circumstances; it is further

         ORDERED that the Magistrate’s Report and Recommendation (Doc. 256) be attached to and

made a part of this Order.

         IT IS SO ORDERED.




 Date:      February 8, 2012                                       /s/ Dean Whipple
                                                                        Dean Whipple
                                                                 United States District Judge




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